                        IN THE SUPREME COURT OF THE STATE OF NEVADA


                 IN THE MATTER OF THE ESTATE OF                      No. 67901
                 WALLACE J. CAVANAUGH,
                 DECEASED,                                               FILED
                 JAN CAVANAUGH                                           JUL 2 8 2016
                                      ' Appellant,                     TRACIE K. LINDEMAN
                                                                    CLERK OF SUPREME COURT
                               vs.                                  BY   S. Y
                                                                          DEPiri    f
                 ESTELLE D. CAVANAUGH,
                                    Respondent
                 IN THE MATTER OF' THE ESTATE OF                     No. 68527
                 WALLACE J. CAVANAUGH,
                 DECEASED.

                 JAN CAVANAUGH,
                                        Appellant,
                               vs.
                 ESTELLE D. CAVANAUGH,
                                   Respondent.

                                     ORDER DISMISSING APPEALS
                            Pursuant to the stipulation of the parties, and cause
                 appearing, these appeals are dismissed. The parties shall bear their own
                 costs and attorney fees. NRAP 42(b).
                            It is so ORDERED.

                                                         CLERK OF THE SUPREME COURT
                                                         TRACE K. LIND

                                                         BY:

                 cc: Hon. Leon Aberasturi, District Judge
                      Carolyn Worrell,' Settlement Judge
                      Holland &amp; Hart LLP/Reno
                      Johnston Law Offices, P.C.
 SUPREME COURT        Third District Court Clerk
      OF
    NEVADA


CLERK'S ORDER

 (1)).1947
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